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10                                  UNITED STATES DISTRICT COURT

11                                NORTHERN DISTRICT OF CALIFORNIA

12                                      SAN FRANCISCO DIVISION

13

14   UNITED STATES OF AMERICA,                      CASE NO. CR 21-453-SI

15           Plaintiff,
                                                    UNITED STATES’ SUPPLEMENTAL
16      v.                                          MEMORANDUM RE: RESTITUTION

17
     BERNARD CURRAN and
18   RODRIGO SANTOS,                                Hon. Susan Illston

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             Defendants.
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     GOV. SUPP. RESTITUTION MEMO
30   CR 21-453-SI
 1          At the conclusion of the restitution hearing held on November 2, 2023, the Court directed the

 2 government to submit a supplemental filing containing an accounting of DBI’s past audit costs for

 3 properties that Mr. Santos and/or Mr. Curran worked on during the time period of the offense conduct

 4 (“the offense conduct properties”). Santos’ admitted offense conduct, according to his plea agreement

 5 and the Indictment, began no later than May 2017 and continued until at least April 2020. (Dkt. Nos. 14

 6 and 56). Curran’s admitted offense conduct, according to his plea agreement and the Superseding

 7 Information, began in March 2017 and continued until at least April 2020. (Dkt. Nos. 47 and 51).

 8 Based on these date limitations, the government received from DBI, through the City Attorney’s Office,

 9 a revised summary of past audit costs attributed to the offense conduct properties. DBI’s submission is

10 attached as Appendix A to this memorandum.

11          According to DBI, the past audit costs for the offense conduct properties attributed to Santos are

12 $113,818.71. The past audit costs for the offense conduct properties attributed to Curran are

13 $140,552.49. Appendix A provides further details supporting DBI’s calculations.

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15 DATED: November 6, 2023                                       Respectfully Submitted,

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                                                                 ISMAIL J. RAMSEY
17                                                               United States Attorney
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                                                                     /s/
19                                                               CASEY BOOME
                                                                 Assistant United States Attorney
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     GOV. SUPP. RESTITUTION MEMO
30   CR 21-453-SI
                     Appendix A – Revised Restitution Calculation


        With the Court’s guidance, DBI submits this revised calculation following the
restitution hearing on November 2, 2023. This revised calculation includes only those
Audit properties that fall within a limited date range, as determined by the Defendants’
respective plea agreements.
        For Defendant Rodrigo Santos, the properties are limited to those attributable to
Santos with a permit application filing date between May 1, 2017 and April 30, 2020.
        For Defendant Bernard Curran, the properties are limited to those with a same-
day inspection by Curran between March 1, 2017 and April 30, 2020.
         We have calculated the past costs by multiplying the number of properties
reviewed as of July 24, 2023 by the average per property cost of $356.13. Between
July 24 and November 2, 2023, the Audit team reviewed an additional 28 properties for
Santos and an additional 188 properties for Curran, all in Tier 3. We have calculated
the past costs incurred between July 24 and November 2, 2023 by multiplying the
additional number of properties reviewed by the estimated per property cost of $312.87.
(Please see prior submissions for explanation of these per property costs.)1 Thus, the
total past costs attributable to Santos are $113,818.71, and to Curran are $140,552.49.


Rodrigo Santos: 05/01/17 - 04/30/20
            Total    Properties Properties Past Costs as    Past Costs        Total
           Offense   Reviewed Reviewed      of 7/24/23       7/24/23 –
           Conduct      as of    7/24/23- ($356.13/prop)      11/2/23
          Properties  7/24/23    11/2/23                  ($312.87/prop)
 Tier 1           52          52         0    $18,518.76                -    $18,518.76
 Tier 2           24          24         0      $8,547.12               -     $8,547.12
 Tier 3          563        219         28    $77,992.47        $8,760.36    $86,752.83
  Total          639        295         28   $105,058.35        $8,760.36   $113,818.71


Bernard Curran: 03/01/17 - 04/30/20
          Total      Properties Properties Past Costs as     Past Costs        Total
         Offense     Reviewed Reviewed      of 7/24/23        7/24/23-
         Conduct        as of    7/24/23- ($356.13/prop)      11/2/23
        Properties    7/24/23    11/2/23                   ($312.87/prop)
 Tier 1         81            81         0    $28,846.53                -    $28,846.53
 Tier 2         32            32         0    $11,396.16                -    $11,396.16
 Tier 3      1669           178       118     $63,391.14       $36,918.66   $100,309.80
  Total      1782           291       118    $103,633.83       $36,918.66   $140,552.49


1 The Court did not seem inclined to award future costs. However, anticipated future
costs are ascertainable by multiplying the number of properties pending review by the
future per property cost of $312.87.


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